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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                    SOUTHERN DIVISION


UNITED STATES OF AMERICA
VERSUS                                                             CRIMINAL NO. 1:04cr5WJG-JMR-3
LATORIA NACOLE GRACE

                   ORDER GRANTING MOTION FOR SENTENCE REDUCTION

        THIS MATTER is before the Court on the motion [54] filed by the Federal Public Defenders
Office on behalf of Defendant Latoria Nacole Grace for a sentence reduction pursuant to 18 U.S.C. §
3582(c)(2) based upon recent amendments to the sentencing guidelines applicable to offenses
involving cocaine base, and the subsequent decision by the United States Sentencing Commission to
make this amendment retroactive, pursuant to United States Sentencing Guideline section 1B1.10
effective March 3, 2008.
        The Court has considered the recalculation of Defendant’s sentence as submitted by the United
States Probation Office and the record in this matter, and finds that Defendant’s motion is well-taken
and her sentence should be reduced to 57 months. Both the Federal Public Defenders Office and the
United States Attorneys Office have submitted written concurrence with this calculation. It is,
therefore,
        ORDERED AND ADJUDGED, that the motion [54] of Defendant Latoria Nacole Grace for
sentence reduction be, and is hereby, granted. It is further,
        ORDERED AND ADJUDGED that Defendant’s sentence be, and is hereby, reduced from 70
months to 57 months. It is further,
        ORDERED AND ADJUDGED that all other terms and provisions of the original judgment,
(Ct. R., Doc. 36), remain in full force and effect.
        SO ORDERED AND ADJUDGED this the 2nd day of May, 2008.




                                                  UNITED STATES SENIOR DISTRICT JUDGE


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